              IN THE COURT OF CRIMINAL APPEALS
                          OF TEXAS
                                        NO. WR-85,573-02

                      EX PARTE CLINT WELDON WILSON, Applicant

                 ON APPLICATION FOR A WRIT OF HABEAS CORPUS
                   CAUSE NO. F8775 IN THE 8TH DISTRICT COURT
                           FROM FRANKLIN COUNTY

       ALCALA , J., filed a concurring opinion.

                                    CONCURRING OPINION

       I join this Court’s remand order because I agree with its observation that applicant has alleged

facts that, “if true, might entitle him to relief.” Because applicant has pleaded a colorable

ineffective-assistance-of-counsel claim, I would order the habeas court on remand to appoint counsel

for him upon request if he is indigent, regardless of whether the trial court holds a hearing. See Ex

parte Pointer, 492 S.W.3d 318, 320-21 (Tex. Crim. App. 2016) (per curiam) (Alcala, J., concurring).

At a minimum, however, in addition to the order’s current admonition that the appointment of

counsel is mandatory for an indigent applicant upon request if the habeas court holds a hearing, I

would include a further admonishment that an indigent applicant is “entitled” to the appointment of

counsel upon request “if the court concludes that the interests of justice require representation.” See

TEX . CODE CRIM . PROC. ART . 1.051(d).

Filed: November 16, 2016
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